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                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF LOUISIANA


JESSIE HOFFMAN

                                                                        CIVIL ACTION
VERSUS
                                                                        NO. 25-169-SDD-SDJ
GARY WESTCOTT, et al.

                                               RULING

        Before the Court is a Motion for Preliminary Injunction filed by Plaintiff Jessie

Hoffman, (“Plaintiff” or “Hoffman”).1 Defendants Gary Westcott, (“Secretary Westcott”),

Secretary for the Louisiana Department of Public Safety and Corrections, (“DPSC); Darrel

Vannoy, Warden of the Louisiana State Penitentiary, (“Warden Vannoy”); and John Does,

unknown executioners, (collectively, “Defendants” or “the State”), oppose the motion.2

Plaintiff has filed a reply.3 The Court held a preliminary injunction hearing on March 7,

2025. During this hearing, Plaintiff urged the Court to reconsider its denial of his RLUIPA4

claim (Count VI).5

        After reviewing the evidence, and considering the law and arguments of the

parties, for the reasons which follow, the Court shall GRANT the Plaintiff’s Motion for

Preliminary Injunction under the Eighth Amendment, DENY the Plaintiff’s Motion to

Reconsider the RILUIPA claim, and DENY Injunctive Relief in all other respects. The

Defendants shall be enjoined from executing Jessie Hoffman on March 18, 2025, using

nitrogen hypoxia.



1
  Rec. Doc. 4.
2
  Rec. Doc. 56.
3
  Rec. Doc. 75.
4
  Religious Land Use and Institutionalized Persons Act (“RLUIPA”), 42 U.S.C. § 2000cc et seq.
5
  Rec. Doc. 87, p. 115.

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    I.       BACKGROUND

          Plaintiff is a death row inmate at the Louisiana State Penitentiary in Angola,

Louisiana, (“Angola”). He was sentenced to death by lethal injection on September 11,

1998, for the murder of Mary “Molly” Elliot.6 Over 26 years later on February 20, 2025,

Plaintiff was served the death warrant for his March 18, 2025 execution.7 Secretary

Westcott8 chose nitrogen hypoxia as Plaintiff’s method of execution, not lethal injection

as per his September 11, 1998 death sentence.9

          Hoffman does not challenge his conviction or death sentence. He challenges the

method of his execution under 42 U.S.C. § 1983. He seeks to be executed by firing squad

or a drug cocktail known as DDMAPh instead of nitrogen hypoxia, which he argues poses

a substantial risk of severe psychological pain when compared to the alternatives he

proposes.

          Nitrogen hypoxia is the deprivation of oxygen through the inhalation of nitrogen.10

In February 2024, the Louisiana legislature amended La. R.S. § 15:569 to add nitrogen

hypoxia as a method of execution effective July 2024.11 Now, the State has the option to

execute those on death row in one of three ways: lethal injection, electrocution, and

nitrogen hypoxia.12 Louisiana is one of only four states that authorizes execution by



6
  State v. Hoffman, 1998-3118 (La. 4/11/00); 768 So. 2d 542, 549–50.
7
  See Rec. Doc. 56-2, p. 5 (suggesting the death warrant was issued on February 10, 2025); Rec. Doc. 86,
pp. 25–26 (Plaintiff’s testimony from PI hearing that he was served the death warrant on February 20,
2025).
8
  Secretary Westcott has been the Secretary of the Louisiana Department of Public Safety and Corrections
since August 2024. Rec. Doc. 87, p. 24.
9
  Id.
10
   See, e.g., id. at p. 30 (Dr. Bickler defining hypoxia).
11
   See La. R.S. § 15:569(A); La. Acts 2024, 2nd Ex. Sess., No. 5, §1, eff. July 1, 2024.
12
   La. R.S. § 15:569(A).

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nitrogen hypoxia.13 Alabama is the only state that has used this method and has done so

on four occasions since January 25, 2024.14 The parties do not dispute that Louisiana’s

nitrogen hypoxia protocol was modeled after, and is identical to, Alabama’s protocol in all

relevant respects.

        After years of being unable to conduct executions through lethal injection, the

Governor on March 5, 2024, signed a law that adds nitrogen hypoxia as a means of

execution available to the DPSC.15 This law took effect on July 1, 2024.16 Before the law

took effect, the DPSC visited Alabama to see its nitrogen gas execution system17 and

purchased the nitrogen that would be used in executions.18 By November 2024, and after

two trips to Alabama, Louisiana’s nitrogen gas execution system was “assembled and in

place” at Angola.19 Training on the nitrogen system started in November 2024.20

Obviously, DPSC anticipated the ability to use nitrogen for executions. Yet, despite the

leg work that DPSC had already undertaken, Louisiana’s execution protocol, a carbon

copy of Alabama’s, was not promulgated until February 7, 2025.21

        Almost immediately thereafter, Hoffman’s death warrant was signed and served

upon him, giving him less than 60 days to challenge his method of execution. Then he

was stymied by the State’s refusal to produce even a redacted version of his execution

protocol. By order of the Court, the State produced the protocol to Hoffman pursuant to a

13
   Oklahoma, Mississippi, and Alabama also have nitrogen hypoxia as a method of execution. See Okla.
Stat. tit. 22, § 1014(B); Miss. Code § 99-19-51(1); Ala. Code § 15-18-82.1.
14
   See Frazier v. Hamm, No. 24-732, 2025 WL 361172 (M.D. Ala. Jan. 31, 2025) (discussing the Alabama
executions of Demetrius Frazier, Kenneth Smith, Alan Miller, and Carey Grayson by nitrogen hypoxia).
15
   See La. R.S § 15:569 and its legislative history, available at https://legis.la.gov/legis/BillInfo.aspx?s=
242ES&b=ACT5&sbi=y.
16
   Id.
17
   Rec. Doc. 86, p. 178.
18
   Id. at pp. 162–63.
19
   Rec. Doc. 87, p. 18.
20
   Id. at pp. 14–15
21
   Id. at p. 12.

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protective order three days before the hearing.22 This highlights a key difference between

Louisiana and Alabama. Alabama finalized its execution protocol in late August of 2023,23

and its first nitrogen hypoxia execution was on January 25, 2024.24 Here, Louisiana

finalized its protocol in the eleventh hour, allowing Hoffman virtually no time to seek

redress.

        Plaintiff filed this suit on February 25, 2025, challenging the constitutionality of

nitrogen hypoxia as Louisiana’s chosen method of his execution.25 He brings multiple

claims, including violations of the First, Sixth, Eighth, and Fourteenth Amendments of the

United States Constitution; the Ex Post Facto Clause, Article 1, § 10 of the Constitution;

18 U.S.C. § 3599, providing access to counsel; and RLUIPA, 42 U.S.C. § 2000cc et seq.26

Plaintiff filed a Motion for Preliminary Injunction seeking to prohibit the State from

executing him on March 18, 2025, through nitrogen hypoxia.27 He prays that “the

execution should be stayed by preliminary injunction to allow for a reasonable period of

expedited discovery, briefing and a hearing with experts so that this case may be decided

on a developed record.”28

        Given Plaintiff’s scheduled execution date of March 18, 2025, the Court set a

preliminary injunction hearing for March 7, 2025.29 The parties had exactly one week to

prepare for the hearing, which included exchanging expert declarations, redacting

sensitive information from documents, agreeing to stipulations of fact, responding to



22
   Rec. Doc. 41.
23
   Frazier, 2025 WL 361172, at *3.
24
   Id. at *5.
25
   Rec. Doc. 1.
26
   Id.
27
   Rec. Doc. 4.
28
   Rec. Doc. 4-1, p. 3.
29
   Rec. Doc. 29.

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written discovery, conducting numerous depositions, preparing witnesses, assembling

exhibits, and engaging in motion practice.30

        With respect to motion practice, Defendants filed a Motion to Dismiss Plaintiff’s

claims,31 which Plaintiff opposed.32 The Court granted Defendants’ Motion to Dismiss in

part and denied it in part.33 Specifically, the Court dismissed as moot the claim for Refusal

to Disclose the Execution Protocol Claim (Count V). The Court dismissed the Religious

Exercise Claims (Counts VI and VII) with prejudice. The Eighth Amendment, Ex Post

Facto and Right to Counsel/ Access to Courts claims (Counts I-IV) proceeded to hearing.

Plaintiff urges the Court to reconsider denying his RLUIPA claim (Count VI).34

        The Court held a preliminary injunction hearing on March 7, 2025, beginning

approximately at 9:00 a.m. and ending sometime past 8:00 p.m. Multiple witnesses

testified, making the hearing transcript over 400 pages.35 The parties received copies of

the hearing transcript on the morning of Saturday March 8, 2025, and had until March 9,

2025, at 9:00 a.m. to submit to the Court Proposed Findings of Fact and Conclusions of

Law.

        Now, after an expedited hearing, and absent a fully developed record, this Court

must answer the ultimate question: is nitrogen hypoxia cruel and unusual punishment

under the Eighth Amendment? If Plaintiff can prove there is a substantial likelihood that

he will succeed on this claim—or any of his remaining claims for that matter—do the

balance of equities weight in his favor, insomuch as it is in the public’s interest for this



30
   See, e.g., Rec. Docs. 10, 33, 40, 55.
31
   Rec. Doc. 55.
32
   Rec. Doc. 69.
33
   Rec. Doc. 79. Defendants filed a 12(b)(6) Motion to Dismiss but have not yet answered the Complaint.
34
   Rec. Doc. 87, p. 115.
35
   See Rec. Docs. 86, 87.

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Court to issue an injunction prohibiting the irreparable harm that will result from his March

18, 2025 execution?

     II.       MOTION TO RECONSIDER DISMISSAL OF PLAINTIFF’S RLUIPA CLAIM

            Plaintiff moves for reconsideration of the Court’s 12(b)(6) dismissal of his RLUIPA

claim.36 Count VI alleges that the execution by nitrogen hypoxia violates RLUIPA because

it substantially burdens Hoffman’s religious exercise to breathe meditatively since he will

be deprived from breathing air.37

            RLUIPA states that

            [n]o government shall impose a substantial burden on the religious exercise
            of a person residing in or confined to an institution . . . even if the burden
            results from a rule of general applicability, unless the government
            demonstrates that imposition of the burden on that person—(1) is in
            furtherance of a compelling governmental interest; and (2) is the least
            restrictive means of furthering that compelling governmental interest.38

The Supreme Court has summarized the RLUIPA test as follows:

            A plaintiff bears the initial burden of proving that a prison policy implicates
            his religious exercise. Although RLUIPA protects any exercise of religion,
            whether or not compelled by, or central to, a system of religious belief, a
            prisoner's requested accommodation must be sincerely based on a
            religious belief and not some other motivation. The burden on the prisoner's
            religious exercise must also be substantial. Once a plaintiff makes such a
            showing, the burden flips and the government must demonstrate that the
            imposition of the burden on that person is the least restrictive means of
            furthering a compelling governmental interest.39

            The Court finds that meditative breathing is an exercise attendant to practicing

Hoffman’s chosen faith of Buddhism.40 The Court dismissed Hoffman’s RLUIPA claim

finding that substituting nitrogen for atmospheric air does not substantially burden

36
   Rec. Doc. 87, p. 115.
37
   Rec Doc. 1, ¶¶ 233–38.
38
   42 U.S.C. § 2000cc–1(a).
39
   Ramirez v. Collier, 595 U.S. 411, 425 (2022) (quoting 42 U.S.C. § 2000cc–1(a); Holt v. Hobbs, 574 U.S.
352, 360–62 (2015)) (cleaned up).
40
   “[T]raditional forms of religious exercise” satisfy the religious exercise prong of RLUIPA. Id. at 425, 427.

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Hoffman’s ability to breath. Nothing in the evidence changes this conclusion. The record

evidence established that nitrogen is an inert, tasteless, colorless, odorless gas.41

            “[A] government action or regulation creates a ‘substantial burden’ on a religious

exercise if it truly pressures the adherent to significantly modify his religious behavior and

significantly violate his religious beliefs.”42 Plaintiff responds that Hoffman’s “sincerely

held religious beliefs are substantially burdened not because he will be unable to breathe”

but because he will be forced to breath nitrogen instead of air.43 At the preliminary

injunction hearing, two Buddhist clerics testified that air (not nitrogen) is necessary for

meditative breathing.44 They cited no religious text or instruction by the historical Buddha

in support of this proposition.

            The Court finds that Buddhism calls its adherents to a ritual of breathing

rhythmically to achieve a mediative state, what the clerics referred to as “zen.” This is

analogous to Western religions’ practice of prayer. The Plaintiff admits that he will have

the ability to breathe in the nitrogen as it is administered.45 The Court finds there is no

substantial burden to his exercise of rhythmic breathing. The Court denies

reconsideration of this claim.

     III.      EXHAUSTION UNDER THE PLRA

            Hoffman filed a grievance as soon as the law adding nitrogen hypoxia as a method

of execution went into effect on July 1, 2024.46 The Defendants rejected his grievance as

premature, stating:

            REJECTED. Your request has been rejected for the following reason(s):
41
   Rec. Doc. 87, p. 89.
42
   Adkins v. Kaspar, 393 F.3d 559, 570 (5th Cir. 2004).
43
   Rec. Doc. 69, p. 20 (emphasis added).
44
   Rec. Doc. 86, pp. 48, 49 (Reverend Michaela Bono), 103 (Reverend Reimoku Gregory Smith).
45
   Id. at p. 39.
46
   Rec. Doc. 69-1, pp. 1–6.

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        YOUR GRIEVANCE ALLEGING THAT VARIOUS EXECUTION METHODS
        CONSTITUTE CRUEL AND UNUSUAL PUNISHMENT IN VIOLATION OF
        THE CONSTITUTION HAS BEEN REJECTED AS PREMATURE, AS IT
        CONCERNS EVENTS THAT HAVE NOT YET HAPPENED AND/OR
        ACTIONS OR DECISIONS THAT HAVE YET TO OCCUR. A VALID DEATH
        WARRANT HAS YET TO ISSUE IN YOUR CASE, AND THE LAW
        ENACTING THE VARIOUS EXECUTION MEANS OUTLINED IN YOUR
        GRIEVANCE HAS YET TO TAKE LEGAL EFFECT. FOR THE REASONS
        STATED ABOVE, YOUR REQUEST FOR RELIEF IS REJECTED
        WITHOUT CONSIDERATION ON THE MERITS. PLEASE NOTE THAT
        REJECTED REQUESTS FOR ADMINISTRATIVE REMEDY ARE NOT
        APPEALABLE TO THE SECOND STEP. 47

After his attorneys received notice that the State was seeking an execution warrant,

Hoffman filed a grievance under the prison’s Administrative Remedy Procedure (“ARP”)

on February 10, 2025.48 Angola responded to his grievance advising that a response

would be issued within 40 days, i.e., after his scheduled execution.49 Hoffman then filed

a second emergency grievance on February 14, 2025.50 No response to the second

emergency grievance is contained in the record.

        “Where an administrative process does not facilitate addressing execution-related

claims within the timeframe of a scheduled execution, it is likely not an ‘available’ remedy

that must be exhausted under the PLRA.”51 When prison officials mishandle an inmate’s

grievance, it cannot be said that he failed to exhaust his remedies.52

        Defendants complain that Hoffman did not plead an alternative method of

execution in his emergency ARP. However, the Prison Litigation Reform Act does not

require legal detail in a grievance. Grievances must provide a factual basis “to identify




47
   Id. at p. 8.
48
   Rec. Doc. 56-2, pp. 2, 5–7.
49
   Id. at p. 4.
50
   Id. at pp. 9–12.
51
   Ramirez, 595 U.S. at 438 (2022) (Sotomayor, J., concurring).
52
   Dole v. Chandler, 438 F.3d 804, 811 (7th Cir. 2006).

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problems, but need not necessarily advance specific legal theories.”53 An incarcerated

person “need not present legal theories in his grievance[].”54 The purpose of an ARP is

fair notice. The State was on notice that Hoffman challenged his method of execution.

           Defendants challenge Hoffman’s failure to include his Ex Post Facto and Right to

Counsel/Access to Courts Claims in is ARP. The Prison Litigation Reform Act provides

that “[n]o action shall be brought with respect to prison conditions . . . by a prisoner

confined in any jail, prison, or other correctional facility until such administrative remedies

as are available are exhausted.”55 This is not a conditions of confinement claim. The

remedy Hoffman seeks—a declaration that La. R.S. § 15:569 is unconstitutional under

the Ex Post Facto Clause, 18 U.S.C. 3599, and the Sixth and Eighth Amendments of the

U.S. Constitution cannot be redressed through the prison grievance process.56

           The Court finds that Plaintiff has exhausted all available remedies. Based on these

facts, there is no administrative process available for Hoffman to obtain any relief for the

actions complained of. An administrative process is not available if it is not “‘capable of

use’ to obtain ‘some relief for the action complained of.’”57

     IV.      MOTION FOR PRELIMINARY INJUNCTION

           Legal Standard for Preliminary Injunctions

           A preliminary injunction is an “extraordinary and drastic remedy” that may only be

awarded upon a clear showing that the plaintiff is entitled to such relief.58 A plaintiff

seeking injunctive relief must demonstrate by a preponderance of the evidence that “(1)


53
   Williams v. Estelle Unit Prison Offs., No. 23-20036, 2024 WL 3026778, at *3 (5th Cir. June 17, 2024)
(citing Johnson v. Johnson, 385 F.3d 503, 517 (5th Cir. 2004)).
54
   Johnson, 385 F.3d at 517.
55
   42 U.S.C. § 1997e(a).
56
   Ross v. Blake, 578 U.S. 632, 639 (2016).
57
   Id. at 642 (quoting Booth v. Churner, 532 U.S. 731, 738 (2001)).
58
   Munaf v. Geren, 553 U.S. 674, 689 (2008).

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it is likely to succeed on the merits, (2) it is likely to suffer irreparable harm without an

injunction, (3) the balance of equities tips in its favor, and (4) an injunction is in the public

interest.”59

       “The decision to grant or deny a preliminary injunction is discretionary with the

district court.”60 However, because a preliminary injunction is an extraordinary remedy, it

“should not be granted unless the party seeking it has clearly carried the burden of

persuasion on all four requirements.”61 Consequently, the decision to grant a preliminary

injunction is “the exception rather than the rule.”62

       Irreparable Harm

       Wright & Miller instructs that “[p]erhaps the single most important prerequisite for

the issuance of a preliminary injunction is a demonstration that if it is not granted the

applicant is likely to suffer irreparable harm before a decision on the merits can be

rendered.”63 Here, Plaintiff will most certainly suffer irreparable harm if his claim for

injunctive relief is not decided prior to his March 18, 2025 execution date. No harm is

more irreparable than death. Finding so, the Court moves to the remaining elements of

the preliminary injunction analysis.

       Substantial Likelihood of Success on the Merits

               A. Eighth Amendment Claims (Counts I and II)

       Plaintiff argues that nitrogen hypoxia execution violates the Eighth Amendment

prohibition against cruel and unusual punishment facially and as applied to him.



59
   United States v. Abbott, 110 F.4th 700, 706 (5th Cir. 2024) (citation omitted).
60
   Miss. Power & Light Co. v. United Gas Pipe Line Co., 760 F.2d 618, 621 (5th Cir. 1985).
61
   Planned Parenthood v. Suehs, 692 F.3d 343, 348 (5th Cir. 2012).
62
   Miss. Power & Light Co., 760 F.2d at 621.
63
   11A Charles Alan Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice and Procedure § 2948.1
(3d ed. 2024).

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        “[C]lassfying a lawsuit as facial or as-applied affects the extent to which the

invalidity of the challenged law must be demonstrated and the corresponding ‘breadth of

the remedy,’ but it does not speak at all to the substantive rule of law necessary to

establish a constitutional violation.”64 It is well settled that “[w]hile the Eighth Amendment

doesn’t forbid capital punishment, it does speak to how States may carry out that

punishment, prohibiting methods that are ‘cruel and unusual.’”65 “Punishments are cruel

when they involve torture or a lingering death[.]”66 “It implies . . . something inhumane and

barbarous, something more than the mere extinguishment of life.”67

        To that end, the question in dispute is whether the State’s chosen method of

execution “intensifie[s] the sentence of death” with “a (cruel) superaddition of terror, pain

or disgrace.”68 “As originally understood, the Eighth Amendment tolerated methods of

execution, like hanging, that involved a significant risk of pain, while forbidding as cruel

only those methods that intensified the death sentence by ‘superadding’ terror, pain, or

disgrace.”69 “To establish that a State's chosen method cruelly ‘superadds’ pain to the

death sentence, a prisoner must show a feasible and readily implemented alternative

method that would significantly reduce a substantial risk of severe pain and that the State

has refused to adopt without a legitimate penological reason.”70

        “Only through a ‘comparative exercise,’ . . . can a judge ‘decide whether the State

has cruelly “superadded” pain to the punishment of death.’”71 Here, Plaintiff proposes two


64
   Bucklew v. Precythe, 587 U.S. 119, 138 (2019) (citing Citizens United v. Fed. Election Comm'n, 558 U.S.
310, 331 (2010)).
65
   Id. at 130.
66
   Baze v. Rees, 553 U.S. 35, 49 (2008) (quoting In re Kemmler, 136 U.S. 436, 447 (1890)).
67
   Id. (quoting In re Kemmler, 136 U.S. at 447).
68
   Bucklew, 587 U.S. at 133 (cleaned up).
69
   Id. at 119.
70
   Id. at 119–20 (citing Baze, 553 U.S. at 52; Glossip v. Gross, 576 U.S. 863, 867–78 (2015)).
71
   Nance v. Ward, 597 U.S. 159, 164 (2022) (quoting Bucklew, 587 U.S. at 136).

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alternative methods of execution: firing squad and DDMAPh, which is a regimen used for

medical-aid-in-dying. The fact that these methods are not authorized under Louisiana law

is immaterial.72 In such a scenario, as the United States Supreme Court has explained,

“the State can enact legislation approving what a court has found to be a fairly easy-to-

employ method of execution.”73 When a state “has legislated changes to its execution

method several times before[,]” there is “no reason to think that the amendment process

would be a substantial impediment.”74

        Therefore, the Court’s analysis turns on whether Plaintiff has shown a substantial

likelihood that (1) making the condemned breath pure nitrogen until dead cruelly

superadds pain and suffering to the execution when compared to firing squad or

DDMAPh; (2) firing squad or DDMAPh is “feasible, readily implemented and in fact

significantly reduce[s] a substantial risk of severe pain;”75 and (3) the state has refused to

adopt one of these methods without a legitimate penological reason.

                        1. Substantial Risk of Harm

        “Nitrogen hypoxia” as a method of execution was first advanced in 2014 by four

criminal law professors at Oklahoma’s East Central University.76 Louisiana has never

executed or attempted to execute a condemned inmate by nitrogen gassing, nor has the

federal government. The only state to have used nitrogen gas as a method of execution




72
   See Nance, 597 U.S. 159 (holding that Section 1983 is an appropriate vehicle for a method-of-execution
claim where the prisoner proposes an alternative method not authorized under their State's law).
73
   Id. at 170.
74
   Id.
75
   Glossip, 576 U.S. at 877 (quoting Baze, 553 U.S. at 52).
76
   MICHAEL COPELAND ET AL., NITROGEN INDUCED HYPOXIA AS A FORM OF CAPITAL PUNISHMENT (2014) (a white
paper by Professors Michael Copeland, Christine Pappas, and Thomas Parr proposing asphyxiation by
nitrogen gas, coining “nitrogen hypoxia” as an alternative to lethal injection).

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is Alabama. To date, Alabama has executed four condemned men by nitrogen hypoxia.77

In the execution context, the condemned is forced to inhale pure nitrogen, which displaces

the oxygen in the lungs thereby robbing the body of oxygen needed for survival.

Eyewitness accounts from these executions are the most probative evidence of what

death by forced inhalation of nitrogen looks like.

       The accounts of all four Alabama executions describe suffering, including

conscious terror for several minutes, shaking, gasping, and other evidence of distress. In

particular, eyewitnesses observed:

          violent writhing of the entire body under the straps “to the point that the
           entire gurney [was] moving up and down”;78

          vigorous convulsing and shaking for four minutes;79

          repeated gasping while conscious;80

          minutes of conscious struggling for life;81

          heaving and spitting;82

          two minutes of shaking and trembling “followed by about six minutes of
           periodic gulping breaths before [becoming still]”;83




77
   See Frazier, 2025 WL 361172 (discussing the Alabama executions of Demetrius Frazier, Kenneth Smith,
Alan Miller, and Carey Grayson by nitrogen hypoxia).
78
   Rec. Doc. 68-2, James Finn, Jeff Landry supports death penalty by nitrogen gas. Here's how an
eyewitness described it, THE ADVOCATE, February 20, 2024,
Https://www.nola.com/news/politics/legislature/witness-recounts-nitrogen-execution-supported-by-jeff-
landry/article_be56ebb8-d021-11ee-8b2b-772fa7c8c892.html.
79
   Rec. Doc. 4-5, pp. 213–14.
80
   Id. at pp. 211, 218.
81
   Id. at pp. 228, 285.
82
   Id. at pp. 74, 271.
83
   Rec. Doc. 4-1, Ivana Hrynkiw, Alabama inmate Alan Miller executed with nitrogen gas Thursday for 1999
shootings, AL.com (Sept. 26, 2024 8:59 PM), https://www.al.com/news/2024/09/alabama-inmate-alan-
miller-set-to-be-executed-with-nitrogen-gas-thursday-for-1999-shootings.html.

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A spiritual advisor, who also happens to be a physician, recounts his observations as

follows: “We don’t see people jerking around like that while they’re dying normally. His

face was twisted, and he looked like he was suffering.”84

       None of these eyewitnesses testified at the preliminary injunction. In the absence

of eyewitness testimony of executions by nitrogen hypoxia, the parties’ called medical

experts. Plaintiff called Dr. Philip Bickler,85 a Board-Certified Anesthesiologist whom the

State stipulated is an expert in the fields of “Anesthesiology and Human Hypoxia.”86

Defendants called Dr. Joseph F. Antognini, a Board-Certified Anesthesiologist whom

Plaintiff’ stipulated is an expert in the fields of “Anesthesiology, General Medicine, and

Physiology.”87

       Dr. Bickler has extensive clinical experience observing the effects oxygen

deprivation (hypoxia) on humans and the scientific study of controlled blood oxygen

desaturation. For thirty years, he has conducted clinical research on human subjects in

various states of hypoxia.88 He has conducted at least 5,000 hypoxia studies on humans

involving administering low oxygen containing gas and monitoring the subjects’

responses.89 From his work at the Hypoxia Research Laboratory, he has published

extensively in peer-reviewed scientific and medical journals regarding the physiological

effects of hypoxia on humans and other animals.90 The Court finds Dr. Bickler is a qualified

expert in the field on anesthesiology, and the Court finds Dr. Bickler to be superbly


84
   Ivana Hrynkiw, Alabama inmate Alan Miller executed with nitrogen gas Thursday for 1999 shootings,
AL.com (Sept. 26, 2024 8:59 PM), https://www.al.com/news/2024/09/alabama-inmate-alan-miller-set-to-
be-executed-with-nitrogen-gas-thursday-for-1999-shootings.html.
85
   Rec. Doc. 4-5, pp. 5–72 (Dr. Bickler CV).
86
   Rec. Doc. 87, p. 27.
87
   Id. at pp. 126–27.
88
   Id. at p. 30. He runs a Hypoxia Research Lab.
89
   Id. at p. 44.
90
   See Rec. Doc. 4-5, pp. 5–72 (Dr. Bickler CV).

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qualified in the field of human hypoxia, owing to his long and extensive clinical work in the

effect of low oxygen (hypoxia) on humans.

       On the other hand, Dr. Antognini has never clinically studied the effects of hypoxia

on humans. He has not published nor presented any studies regarding the effects of

nitrogen hypoxia. Professionally, the only study of human hypoxia Dr. Antognini has done

is in connection to providing opinions to Alabama and Louisiana in support of nitrogen

hypoxia execution. He has testified for various states in fifteen to twenty lethal injection

execution cases and in five cases involving nitrogen hypoxia.91

       Dr. Bickler explained the physiological effects of oxygen depletion. When oxygen

levels drop, “it sets off all our alarm bells. It hyperactivates our sympathetic nervous

system, so there is an increase in heart rate, in blood pressure. You feel blood pounding

in your head. You have an increased drive to breathe. You feel like you're gasping for

air.”92 Hypoxia “elicits [a] massive sympathetic nervous system response . . . it produces

a terror response.”93 “Your drive to breathe overcomes your conscious will.”94 He

explained that the “lungs are a four-to-five-quart reservoir of air which contains 20%

oxygen. So it may take a number of minutes depending on the breathing volume [for

nitrogen] to wash out all the oxygen that is remaining in the lungs.”95 “[W]hat this

represents is forced asphyxiation, gassing a subject to death, exposing him to a lack of

oxygen such that both extreme discomfort, distress, pain, and terror would be felt all the



91
   Rec. Doc. 87, p. 203. The five cases involving nitrogen hypoxia include: Smith v. Hamm, No. 23-656,
2024 WL 116303 (M.D. Ala. Jan. 10, 2024); Miller v. Marshall, No. 24-197, 2024 WL 3737346 (M.D. Ala.
July 8, 2024); Grayson v. Hamm, No. 24-376, 2024 WL 4701875 (M.D. Ala. Nov. 6, 2024); Frazier v. Hamm,
No. 24-732, 2025 WL 361172 (M.D. Ala. Jan. 31, 2025); and the instant matter.
92
   Rec. Doc. 87, pp. 34–35.
93
   Id. at pp. 40–41.
94
   Id. at p. 43.
95
   Id. at p. 93.

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way up to the point of losing consciousness.”96 Dr. Bickler agrees that nitrogen hypoxia

does not cause physical pain. “It does not cause physical pain in terms of somatic pain.

It causes emotional terror.”97 Both experts agree that nitrogen hypoxia does not produce

physical pain.98

        On the question of psychologic pain, Dr. Antognini agreed that oxygen deprivation

in the lungs triggers an instinctual response driven by respiratory centers in the brain that

tell your body to breathe.99 He also agreed that if your brain is telling you to breathe and

your mind knows breathing will kill you, this creates “severe emotional suffering.”100 Thus,

there is agreement among the experts that the inability to quiet the primal urge to breathe

is severe emotional suffering. The question becomes how long this psychological

suffering is likely to endure. What is the time between nitrogen onset and

unconsciousness?

        Dr. Bickler candidly concedes that a person who is administered 100% pure

nitrogen and is breathing normally will lose consciousness in less than one minute.101 But

if the condemned holds his breath, Dr. Bickler opines that it could take 3 to 5 minutes to

lose consciousness.102 In order to minimize the time to unconsciousness, and thus the

duration of suffering, the condemned must cooperate in his own execution. However, the

ability to cooperate (repeatedly inhale deeply) would require the condemned to mentally



96
   Id. at pp. 32–33.
97
   Id. at p. 98.
98
   Id. at pp. 98, 169.
99
   Id. at p. 187. Dr. Antognini tries to limit the primal response to breathe to circumstances of hypercapnia,
a condition caused by excess CO2 in the lungs. Id. at pp. 380–81. The court finds Dr. Bickler's opinion that
oxygen deficiency, and not the type of gas depleting the oxygen, triggering the panic response to breathe
is more credible.
100
    Id.
101
    Id. at p. 83.
102
    See id. at pp. 50, 58.

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overcome the primal urge to breathe that is triggered by lack of oxygen.103 On the other

hand, if the condemned holds his breath, Dr. Bickler opines that it could take 3 to 5

minutes to lose consciousness.104 The State’s expert, Dr. Antognini, agrees that breath-

holding will increase the time until loss of consciousness.105

        After careful consideration of these medical experts and their opinions in the

context of their reliance materials and experience, the Court credits Dr. Bickler’s testimony

and opinions over Dr. Antognini’s. Dr Antognini’s opinions are untested scientific

hypotheses. The studies on which he relies are either irrelevant or unpersuasive.106

        The Court is convinced by Dr. Bickler’s testimony and by common sense107 that

the deprivation of oxygen to the lungs causes a primal urge to breathe and feelings of

intense terror when inhalation does not deliver oxygen to the lungs. The experts agree

and the Court finds that this causes severe psychological pain. The experts also agree

that this severe psychological pain endures until the loss of consciousness.108 Dr.

Antognini argues that loss of consciousness will occur between 10 and 40 seconds from

inhalation of nitrogen, and Dr. Bickler opines that consciousness will more likely persist




103
     Id. at p. 211 (rebuttal testimony of Dr. Bickler explaining that low oxygen, not CO2 or other gas,
displacement creates the hunger and panic for air).
104
    See id. at pp. 50, 58.
105
    Id. at pp. 184–85.
106
     Dr. Antognini relied on an Ernsting paper, two Ogden papers, Miller and Mazur, and a “dog study.”
Reliance on the dog euthanasia study is flawed. Dr. Antognini admits dogs have different ventilation,
different cardiac output, and different metabolisms as compared to humans and would be unlikely to hold
their breath. Id. at pp. 199–200. The Ernsting paper is not instructive on time to loss of consciousness for
the reasons discussed in this Ruling at infra p. 18 and note 10. The Miller and Mazur paper is a white paper,
not a study or experiment. Rec. Doc. 87, p. 200. It includes no method information or data. The Ogden
papers were the work of a Sociologist who observed videos of four voluntary suicides by helium ingestion.
Id. at pp. 152; 197–99.
107
    One need only hold their breath to understand that there is a primal urge to breath. Breath-holding
causes inhaled CO2 to displace the oxygen in the lungs as it is carried out of the lungs to the rest of the
body. In the case of breath-holding, O2 is displaced by CO2; the physiological effect of displacement by
nitrogen is no different. See id. at pp. 210–17 (Bicker Rebuttal).
108
    Id. at pp. 98, 169.

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for a minute or more. On the low end, conscious terror and a sense of suffocation endures

for 35 to 40 seconds.109 On the high end, conscious psychological suffering endures for

3 to 5 minutes if an unwilling inmate holds his breath.

        The Ernsting study,110 cited and relied upon by both Dr. Bickler and Dr. Antognini,

is a human nitrogen hypoxia study done in 1960 and is the only study that recorded time

to unconsciousness following the inhalation of pure nitrogen. In the Ernsting study, human

subjects were instructed to fully exhale and then hyperventilate 100% pure nitrogen.

Under those circumstances, the subjects lost consciousness in 30 to 40 seconds.111 The

controlled variables in the Ernsting study (complete exhalation and hyperventilated inhale

of nitrogen) are not analogous to execution conditions. The Ernsting study supports the

conclusion that when the inhalation and exhalation variables are uncontrolled, as it will

be in an execution setting, the time to unconsciousness will be longer than 30-40 seconds.

Dr. Antognini admitted that the results of experiments using different methods cannot be

compared and that the Ernsting method, involving the purging of lung air followed by the

hyperventilation of nitrogen, is “very different” from Louisiana’s nitrogen hypoxia

method.112

        The Court does not credit Dr. Antognini’s opinion that the Louisiana’s system “will

cause unconsciousness within 35 to 40 seconds or perhaps sooner once the inmate starts

to inhale in 90 to 100% nitrogen gas.”113 This opinion is belied by the Ernsting study which

documents unconsciousness occurring 30 to 40 seconds after purging of air from the




109
    Rec. Doc. 87, p. 326
110
    Id. at p. 57.
111
    Id.
112
    Id. at pp. 192–93.
113
    Id. at p. 132.

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lungs followed by the hyperventilation of nitrogen. Dr. Antognini conceded that “Dr. Bickler

is absolutely right that the lungs will have some oxygen in [them,] [s]o you have to

consider not just the volume of the mask but also the volume of the lungs."114 He opines

that unconsciousness will occur “around 10 to 12 seconds” after the “inspired oxygen

level is down to about 5%.”115 He candidly referred to his time to unconsciousness as an

“estimate.”116

       Short of direct observation of humans in hypoxic states, Dr. Antognini presents

nothing more than a scientific hypothesis. The scientific method calls for testing

hypotheses. His hypothesis could have been tested by observation of the Alabama

executions. Dr. Antognini testified for the state in the first Alabama execution (Smith).

Alabama hired him in connection with the next three nitrogen hypoxia executions (Miller,

Grayson, and Frazier). Dr. Antognini did not observe any of these three Alabama

executions following his initial opinion and hypothesis. His hypothesis regarding time until

unconsciousness remains untested and unsubstantiated.

       The Court finds that Dr. Bickler’s thirty years of clinical research, specifically

studying hypoxia in humans, results in reliable scientific understanding of the

physiological effect of hypoxia in humans. Anecdotal evidence from eyewitnesses to the

four Alabama nitrogen hypoxia executions corroborate and reinforce his opinions.117 The

Court finds that Plaintiff has clearly shown that he is substantially likely to prove that

nitrogen hypoxia poses a substantial risk of conscious terror and psychological pain.




114
    Id. at p. 147.
115
    Id. at p. 149.
116
    Id. at p. 151.
117
    See Rec. Doc. 4-5, pp. 206–285.

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                          2. Alternative Methods

        Plaintiff’s two proposed alternatives are firing squad and DDMAPh. The Court

begins with addressing firing squad as a proposed alternative.

        At the preliminary injunction hearing, Plaintiff called Dr. James Williams to testify,

whom the State stipulated is an expert in the fields of “Emergency Medicine and

Firearms.118 Dr. Williams has been an Emergency Room physician for over 30 years and

has seen and treated scores of gunshot wounds.119 Dr. Williams is also recognized by the

International Association of Law Enforcement Instructors and the International Law

Enforcement Educators and Trainers Association as having an expertise in firearms and

ballistics.120 Dr. Williams testified at length, basing his opinions on his professional

observations and experience, his knowledge of firearms and ballistics, and the State of

Utah’s Department of Corrections and the United States Military’s firing squad

protocols.121

        Stated simply, execution by firing squad is the process of firing multiple high caliber

bullets122 in someone’s “cardiac bundle.” The cardiac bundle is “the larger organ of the

heart and all of its accessory structures, as well as the great vessels above and around

the heart . . . .”123 Military rifle calibers are used, causing multiple bullets to strike “the

individual’s body at a velocity of around 2800 feet per second . . . .”124 These bullets “strike

the body with a combined energy of roughly the equivalent of being struck by a 3-quarter-



118
    Rec. Doc. 86, p. 105.
119
    Id. at p. 104.
120
    Id. at p. 105.
121
    Id. at pp. 104–31.
122
    Utah’s protocol provides for four bullets, South Carolina’s three, and the Military’s up to eight. See id. at
p. 108.
123
    Id. at pp. 106–07.
124
    Id. at p. 108.

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ton fully loaded truck in about .04 seconds and traverse the torso of the individual.”125

“[T]he bullets will strike the outside of the body and then traverse through the heart,

unleashing tremendous destructive energy upon the heart, which will literally tear the

heart to pieces . . . .”126 “This is significant destructive power which is unleased in less

than a fraction of a second and would cause complete cessation of all cardiac output from

the moment the bullets traverse the heart.”127 “[U]nconsciousness occurs very rapidly in

a period of about 3 to 4 seconds.”128

        The Court finds Dr. Williams’ testimony that the condemned would be rendered

unconscious in 3 to 4 seconds credible. As explained above, Dr. Bickler and Dr. Antognini

differ on how long the condemned will suffer psychological terror before becoming

unconscious during a nitrogen hypoxia execution. The Court finds it substantially likely

that Hoffman will be able to prove a duration of conscious suffering of 30 to 40 seconds.

Thus, the Court concludes that Hoffman has clearly demonstrated that he is substantially

likely to prevail in his assertion that nitrogen hypoxia superadds pain and terror as

compared to firing squad.

        Execution by firing squad has been upheld by the Supreme Court under the Eighth

Amendment.129 The firing squad method of execution is currently approved by five

states,130 and South Carolina most recently utilized this method on March 7, 2025.131

125
    Id.
126
    Id.
127
    Id. at p. 109.
128
    Id. at p. 110.
129
    Wilkerson v. Utah, 99 U.S. 130 (1878) (upholding a sentence to death by firing squad imposed by a
territorial court, rejecting the argument that such a sentence constituted cruel and unusual punishment).
(cited in Baze, 553 U.S. at 48, and Bucklew, 587 U.S. at 131).
130
    Mississippi, Miss. Code § 99-19-51; Oklahoma, Okla. Stat. tit. 22, § 1014; Utah, Utah Code § 77-18-113;
South Carolina, S.C. Code § 24-3-530; and Idaho, Idaho Code § 19-2716.
131
     Jeffrey Collins and Patrick Phillips, ‘Violent and sudden’: Witness to first SC firing squad execution
describes       what       he     saw,    LIVE     5    WCSC       (Mar.    8,     20225,     11:15   AM),


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“Point[ing] to a well-established protocol in another State as a potentially viable option” is

probative of whether a proposed alternative is acceptable and available.132 Considering

this, there is no legitimate, penological reason why the State has refused to adopt this

method of execution. Just as the State modeled its nitrogen hypoxia protocol and

procedures after Alabama, it could do the same with the five other states that use firing

squad as a method of execution. Chief Operations Offer of the DPSC Seth Smith, (“COO

Smith”), testified that the DPSC maintains a supply of firearms and ammunition and has

officers trained and skilled in the use of firearms.133

        The Court finds that Plaintiff has clearly shown a substantial likelihood that (1)

making the condemned breath pure nitrogen until dead cruelly superadds pain and

suffering to the execution when compared to firing squad; (2) firing squad is “feasible,

readily implemented, and in fact significantly reduce[s] a substantial risk of severe

pain;”134 and (3) that the State has failed to adopt firing squad as a method of execution

without a legitimate penological reason.

        Though Plaintiff satisfies his burden through his first proposed alternative of firing

squad, he does not meet this burden with respect to his second proposed alternative of

DDMAPh. At the preliminary injunction hearing, Plaintiff called Dr. Charles David Blanke,

whom Defendants stipulated was an expert in medical-aid-in-dying and the drugs and

methods used in the field.135 Dr. Blanke testified that DDMAPh is a five-drug cocktail of

digoxin, diazepam (commonly known as Valium), amitriptyline, morphine, and


https://www.live5news.com/2025/03/08/violent-sudden-witness-first-sc-firing-squad-execution-describes-
what-he-saw/.
132
    Nance v. Ward, 597 U.S. 159, 165 (2022) (quoting Bucklew, 587 U.S. at 140). Again, the Court need not
hinge its analysis on the fact that firing squad is not authorized under Louisiana law. See id. at 170.
133
    Rec. Doc. 86, p. 160.
134
    Glossip, 576 U.S. at 877 (quoting Baze, 553 U.S. at 52).
135
    Rec. Doc. 86, p. 133.

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phenobarbital.136 “Most commonly, people ingest the combination of drugs mixed up in

some apple juice and/or apple syrup by swallowing it.”137 However, DDMAPh in the

execution context would likely involve rectal administration. According to Dr. Blanke, the

average time to unconsciousness is 5.8 minutes, and the average time to death is about

96 minutes.138

        DDMAPh is not a feasible and readily available form of execution in Louisiana. At

the hearing, COO Smith testified credibly that drugs used for executions are not available

to the State. He testified that “Morris and Dickson and Pfizer, and other drug

manufacturers, maybe not in writing, have made it very clear to [the DPSC] that if [it]

use[s] any of their medication for a capital punishment case, they reserve the right to pull

all of their medication off the table.”139 He went on to explain that the DPSC has an aging

population and runs “large infirmaries” and “full-blown hospitals.”140 In short, the DPSC

“cannot run the risk of losing access to life-saving drugs . . . .”141 The Court agrees and

finds that DDMAPh is not a feasible and readily available form of execution. Accordingly,

Plaintiff has failed to meet his burden with respect to DDMAPh.

        The Court concludes that there is a substantial likelihood that Plaintiff will succeed

on the merits that nitrogen hypoxia violates the Eighth Amendment’s prohibition against

cruel and unusual punishment. Plaintiff has shown that nitrogen hypoxia superadds

psychological pain, suffering, and terror to his execution when compared to execution by

firing squad. He has shown that execution by firing squad is a feasible and readily



136
    Id. at p. 135.
137
    Id.
138
    Id. at p. 139.
139
    Id. at p. 176–77.
140
    Id. at p. 177.
141
    Id.

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available alternative that the State has no legitimate penological reason for not adopting.

Finding that Plaintiff has met his burden as to his facial challenge, the Court need not

address his as-applied challenge but notes that there is evidence in the record that

execution by nitrogen hypoxia is cruel and unusual as applied to him.142

        The fact that no method of execution has been violative of the Eighth Amendment

does not change the Court’s opinion. The Court in Bucklew recognized the importance of

a full record, noting that “Mr. Bucklew had ample opportunity to conduct discovery and

develop a factual record.”143 After three executions, in Frazier v. Hamm the Middle District

of Alabama recognized that “the longer an inmate remains conscious while breathing in

nitrogen during an execution, the more likely it becomes that the Eighth Amendment may

be violated.”144

                B. Ex Post Facto Clause Claim (Count III)

        The Ex Post Facto Clause of the United State Constitution “forbids . . . Congress

and the States to enact any law ‘which imposes a punishment for an act which was not

punishable at the time it was committed; or imposes additional punishment to that then

prescribed.’”145 In Weaver v. Graham, the Supreme Court discussed its 1915 decision in

Malloy v. South Carolina146 and explained that in Malloy, a change in the method of

execution was “not ex post facto [where] evidence showed the new method to be more

humane . . .”147 In Sepulvado v. Jindal, the Fifth Circuit cited Weaver and Malloy and


142
    See, e.g., Rec. Doc. 87, pp. 33–34 (Dr. Bickler’s testimony that “for someone like Mr. Hoffman, nitrogen
asphyxiation would be a particularly horrible method, a really inhumane choice for an individual who has a
history of PTSD.”); id. at p. 36 (“If someone has an anxiety disorder, the degree of difficulty goes up
exponentially.”).
143
    Bucklew, 587 U.S. at 144.
144
    2025 WL 361172, at *14.
145
    Weaver v. Graham, 450 U.S. 24, 28 (1981) (quoting Cummings v. Missouri, 4 Wall. 277, 325–26 (1866)).
146
    237 U.S. 180 (1915).
147
    Weaver, 450 U.S. 32 n.17.

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explained that “a post-offense change in a state's execution protocols would violate the

ex post facto prohibition unless the change in execution method is more humane than the

prior method of execution.”148 In Nelson v. Campbell, the Supreme Court succinctly

explained that there is “no ex post facto violation to change [a] method of execution to [a]

more humane method.”149

        The Court agrees with the Defendants that the Ex Post Facto claim “rises and falls”

on whether execution by nitrogen hypoxia will subject Plaintiff “to an increased

punishment [that is] a less humane method of execution than lethal injection, which was

his original method of execution.” 150

        The method of execution change in this case was from lethal injection to nitrogen

hypoxia. The Plaintiff submitted scant evidence comparing the harm of lethal injection to

the harm of nitrogen hypoxia. The Plaintiff therefore failed to demonstrate that he is

substantially likely to succeed on this claim.

                C. Right to Counsel and Access to Courts Claim (Count IV)

        Hoffman argues that he has a constitutional right to have counsel151 present at his

execution, in order to protect his constitutional right to access the Courts.152 Citing the

Southern District of Ohio, Hoffman argues that he has a right to counsel throughout the

execution procedure and during the execution.153 Hoffman also cites to the Eastern

District of Arkansas, the Middle District of Tennessee, and the Sixth and Eighth Circuits


148
    739 F.3d 716, 722 n.5 (5th Cir. 2013).
149
    541 U.S. 637, 644 (2004) (citing Weaver, 450 U.S. at 32–33 n.17).
150
    Rec. Doc. 81, ¶ 114.
151
    Prisoners have a Sixth Amendment right to access to counsel at all “critical” stages of criminal
proceedings. United States v. Wade, 388 U.S. 218, 227-28 (1967).
152
    Prisoners have a right under the First and Fourteenth Amendments to access to the courts. See, e.g.,
Lewis v. Casey, 518 U.S. 343, 350–51 (1996).
153
    Rec. Doc. 1, ¶ 219; Rec. Doc. 82, ¶ 139 (citing In re Ohio Execution Protocol Litig., No. 11-1016, 2018
WL 6529145, at *4–5 (S.D. Ohio Dec. 12, 2018)).

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in support of his position.154 However, the Fifth Circuit holds that a claim of the right to

counsel “during the events leading up to and during the execution” under the First, Sixth,

and Eighth Amendment is “without merit.”155 The Fifth Circuit further instructs that “the

possibility of “botched executions” that access to counsel could address [to the

Courts] . . . fails as well.”156 Under the law of the Fifth Circuit, Plaintiff fails to show a

substantial likelihood of prevailing on Count IV.

                 D. Balance of Equities and the Public’s Interest

        The final two elements Plaintiff must satisfy for a preliminary injunction are that the

threatened harm (a violation of the Eighth Amendment) outweighs any harm that may

result to the State (delay in carrying out a sentence), and that the injunction will not

undermine the public interest.157 These factors may be considered together particularly

because “[t]hese factors merge when the Government is the opposing party,”158 and these

two factors overlap considerably.159 In weighing equities, a court must balance the

competing claims of injury and must consider the effect on each party of the granting or

withholding of the requested relief.160 The public interest factor requires the court to

consider what public interests may be served by granting or denying a preliminary

injunction.161




154
    Rec. Doc. 82, ¶¶ 141–45 (citing McGehee v. Hutchinson, 463 F. Supp. 3d 870, 925 (E.D. Ark. 2020),
aff'd sub nom. Johnson v. Hutchinson, 44 F.4th 1116 (8th Cir. 2022); Coe v. Bell, 89 F. Supp. 2d 962 (M.D.
Tenn. Apr. 3, 2000); and Coe v. Bell, 230 F.3d 1357 (6th Cir. 2000)).
155
    Whitaker v. Collier, 862 F.3d 490, 501 (5th Cir. 2017).
156
    Id. at 467.
157
    Valley v. Rapides Par. Sch. Bd., 118 F.3d 1047, 1051 (5th Cir. 1997).
158
    Nken v. Holder, 556 U.S. 418, 435 (2009).
159
    Texas v. United States, 809 F.3d 134, 187 (5th Cir. 2015).
160
    Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008).
161
    Sierra Club v. U.S. Army Corps of Engineers, 645 F.3d 978, 997–98 (8th Cir. 2011).

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        The Court finds that the balance of equities and public interest weigh in favor of

enjoining Hoffman’s March 18, 2025 execution through nitrogen hypoxia until the matter

can be resolved at a trial on the merits. The Fifth Circuit holds that an injunction does not

disserve the public interest when it prevents constitutional deprivations.162 Stated another

way, injunctions preventing the violation of constitutional rights are “always in the public

interest.”163

        The Court is asked to make this important decision on an undeveloped record after

an expedited preliminary injunction hearing. Hoffman is going to be executed. It’s not a

question of if; it’s merely a question of how, and the alternatives are quickly narrowing.

Louisiana has no readily available electric chair164 and cannot get the drugs needed for

lethal injection.165 The only viable alternatives appear to be nitrogen hypoxia and firing

squad. The State’s desire for swiftness does not prevail over well-informed deliberation.

        There have been only four executions by nitrogen hypoxia in the United States.

These executions were carried out by the state of Alabama between January 25, 2024,

and February 6, 2025.166 On all four occasions, the condemned chose nitrogen hypoxia

as their method of execution. In Alabama, “[a] death sentence shall be executed by lethal

injection, unless the person sentenced to death affirmatively elects to be executed by




162
    Jackson Women's Health Org. v. Currier, 760 F.3d 448, 458 n.9 (5th Cir. 2014).
163
    Id. at 458 (quoting Awad v. Ziriax, 670 F.3d 1111, 1132 (10th Cir. 2012). See also Ingebretsen on behalf
of Ingebretsen v. Jackson Public Sch. Dist., 88 F.3d 274, 280 (5th Cir. 1996); see also, e.g., G & V Lounge,
Inc. v. Mich. Liquor Control Comm'n, 23 F.3d 1071 (6th Cir. 1994); Charles H. Wesley Educ. Fdn., Inc. v.
Cox, 408 F.3d 1349, 1355 (11th Cir. 2005); Deerfield Med. Ctr. v. City of Deerfield Beach, 661 F.2d 328,
338–39 (5th Cir. 1981).
164
    Rec. Doc. 87, p. 15.
165
    Rec. Doc. 86, p. 176–77.
166
    See Frazier, 2025 WL 361172, at *3.

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electrocution or nitrogen hypoxia.”167 This is in stark comparison to Louisiana, which

delegates the method of execution to the discretion of the DPSC Secretary.168

        The State even refused to make the new nitrogen hypoxia protocol available to the

public. The State relented to releasing a redacted protocol to the public until the day

before the preliminary injunction hearing.169 The redacted protocol easily meets the

definition of a public record170 under Louisiana law, yet the State shrouded the redacted

protocol in secrecy until the day before the hearing.

        The public has an interest in knowing how its government operates. The

obfuscation of the protocol by the State is deleterious to the public’s interest. The United

States Constitution is simply the government’s promises to its citizens. The Eighth

Amendment is the government’s assurance that no citizen will be punished by means that

are cruel and unusual. Courts are the arbiter of whether the government honors this

promise to her people. It is in the best interests of the public to examine this newly

proposed method of execution on a fully developed record. The public has paramount

interest in a legal process that enables thoughtful and well-informed deliberations,

particularly when the ultimate fundamental right, the right to life, is placed in the

government’s hands. Accordingly, Plaintiff’s Motion for Preliminary Injunction is granted.


167
    Ala. Code § 15-18-82.1(a).
168
    La. R.S. § 15:569(A).
169
    Rec. Doc. 70.
170
    See La. R.S. § 44:1(A)(2)(a) (“All books, records, writings, accounts, letters and letter books, maps,
drawings, photographs, cards, tapes, recordings, memoranda, and papers, and all copies, duplicates,
photographs, including microfilm, or other reproductions thereof, or any other documentary materials,
regardless of physical form or characteristics, including electronically stored information or information
contained in databases or electronic data processing equipment, having been used, being in use, or
prepared, possessed, or retained for use in the conduct, transaction, or performance of any business,
transaction, work, duty, or function which was conducted, transacted, or performed by or under the authority
of the constitution or laws of this state, or by or under the authority of any ordinance, regulation, mandate,
or order of any public body or concerning the receipt or payment of any money received or paid by or under
the authority of the constitution or the laws of this state, are ‘public records’, except as otherwise provided
in this Chapter or the Constitution of Louisiana.”)

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   V.      CONCLUSION

        Considering the foregoing, Plaintiff’s Motion to Reconsider the Court’s Denial of

his RLUIPA Claim (Count VI) shall be DENIED. Plaintiff’s Motion for Preliminary Injunction

shall be GRANTED on the Eighth Amendment claim, and Defendants are enjoined from

executing Jessie Hoffman on March 18, 2025, using nitrogen hypoxia. Plaintiff’s Motion

for Preliminary Injunction is DENIED as to Counts III and IV.

        Baton Rouge, Louisiana, this 11th
                                     ___ day of _______________,
                                                     March       2025.



                                             S
                                         ________________________________
                                         SHELLY D. DICK
                                         CHIEF DISTRICT JUDGE
                                         MIDDLE DISTRICT OF LOUISIANA




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